Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 1 of 50 PagelD 259

AF Approval S&S Ji Chief Approval yes

we

UNITED STATES DISTRICT Court FILED \N QPEN COURT

MIDDLE DISTRICT OF FLORIDA af?
JACKSONVILLE DIVISION a | J | AY

CLERK, US. ~ COURT
WoL DISTRICT OF FLORIDA
UNITED STATES OF AMERICA JACKSONVILLE, FLORIDA
% CASE NO. 3:23-cr-47-WWB-LLL

JAMES DARRELL HICKOX

Pursuant to Fed. R. Crim. P. I1(c), the United States of America, by
Roger B. Handberg, United States Attorney for the Middle District of Florida,
and the defendant, James Darrell Hickox, and the attorney for the defendant,
Daniel A. Smith, mutually agree as follows:

A. Particularized Terms

I. Counts Pleading To

The defendant shall enter a plea of guilty to Counts Three, Eight,
and Eleven of the Superseding Indictment. Count Three charges the
defendant with Conspiracy to Defraud the United States, in violation of 18
U.S.C. § 371. Count Eight charges the defendant with Tax Evasion, in
violation of 26 U.S.C. § 7201. Count Eleven charges the defendant with

Conspiracy to Possess with Intent to Distribute Controlled Substances (500+

Defendant's Initials i,
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 2 of 50 PagelD 260

grams of cocaine, 40+ grams of fentanyl, 100+ kilograms of marijuana, and
MDMA), in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) and (C).

2. Minimum and Maximum Penalties

Count Three is punishable by up to five years of imprisonment, a
fine of up to $250,000, a term of supervised release of up to 3 years, and a
special assessment of $100. Count Eight is punishable by up to five years of
imprisonment, a fine of up to $250,000, a term of supervised release of up to 3
years, and a special assessment of $100. Count Eleven is punishable by a
mandatory minimum term of imprisonment of five years up to forty years, a
fine of up to $5 million, a term of supervised release of at least 4 years up to
life, and a special assessment of $100. Though not required to do so, the
Court may impose these sentences consecutively. With respect to certain
offenses, the Court shall order the defendant to make restitution to any victim
of the offenses, and with respect to other offenses, the Court may order the
defendant to make restitution to any victim of the offenses, or to the
community, as set forth below.

3. Alleyne v. United States and Apprendi v. New Jersey

Under Alleyne v. United States, 570 U.S. 99 (2013), and Apprendi v.

New Jersey, 530 U.S. 466 (2000), the defendant is subject to a mandatory

minimum sentence of five years of imprisonment and a maximum sentence of

Defendant’s Initials iS , 2
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 3 of 50 PagelD 261

forty years of imprisonment as to Count Eleven because the following facts
have been admitted by the defendant and are established by this plea of guilty:
The defendant conspired to possess with intent to distribute 500 grams or
more Of a mixture and substance containing a detectable amount of cocaine,
40 grams or more of a mixture and substance containing a detectable amount
of fentanyl, and 100 kilograms or more of a mixture and substance containing
a detectable amount of marijuana.

4. Elements of the Offenses

The defendant acknowledges understanding the nature and
elements of the offenses with which defendant has been charged and to which
defendant is pleading guilty.

The elements of Count Three are:

First: Two or more people in some way agreed to try to

accomplish a shared and unlawful plan;

Second: The Defendant knew the unlawful purpose of the
plan and willfully joined in it;

Third: During the conspiracy, one of the conspirators
knowingly engaged in at least one overt act

described in the indictment; and,

Defendant's Initials de 3
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 4 of 50 PagelD 262

Fourth: The overt act was knowingly committed at or about
the time alleged and with the purpose of carrying
out or accomplishing some object of the conspiracy.

The elements of Count Eight are:

First: The Defendant owed substantial income tax in
addition to the amount declared on his tax return;

Second: The Defendant intended to evade or defeat the
assessment or payment of this tax; and,

Third: The Defendant willfully committed an affirmative
act in furtherance of this intent.

The elements of Count Eleven are:

First: Two or more people (including the Defendant) in
some way agreed to try to accomplish a shared and
unlawful plan, the object of which was the
distribution or possession with the intent to
distribute of controlled substances;

Second: The Defendant knew the unlawful purpose of the
plan and willfully joined in it.

Third: The object of the conspiracy was to possess with

intent to distribute 500 grams or more of a mixture

Defendant's Initials “\ yi ) 4
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 5 of 50 PagelD 263

and substance containing a detectable amount of
cocaine, 40 grams or more of a mixture and
substance containing a detectable amount of
fentanyl, 100 kilograms or more of a mixture and
substance containing a detectable amount of
marijuana, and MDMA.

5. Counts Dismissed

At the time of sentencing, the remaining counts against the
defendant, Counts One, Four, Five, Six, Nine, and Ten, will be dismissed
pursuant to Fed. R. Crim. P. 11(c)(1)(A).

6. No Further Charges

If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the
United States Attorney's Office at the time of the execution of this agreement,

related to the conduct giving rise to this plea agreement.

7. Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,

the United States will not oppose the defendant’s request to the Court that the

an

Defendant’s Initials , Wy ,
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 6 of 50 PagelD 264

defendant receive a two-level downward adjustment for acceptance of
responsibility, pursuant to USSG § 3E1.1(a). The defendant understands that
this recommendation or request is not binding on the Court, and if not
accepted by the Court, the defendant will not be allowed to withdraw from the
plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG § 3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG § 3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the
Middle District of Florida, and the defendant agrees that the defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,

or otherwise.

8. Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the

investigation and prosecution of other persons, and to testify, subject to

Defendant's Initials A f J 6
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 7 of 50 PagelD 265

prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in defendant's
possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as “substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (1) a downward departure
from the applicable guideline range pursuant to USSG §5K1.1, or (2) the
imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 3553(e), or (3) both. If the cooperation is completed subsequent to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United

States Attorney for the Middle District of Florida, warranting the filing ofa
motion for a reduction of sentence within one year of the imposition of

sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant

understands that the determination as to whether “substantial assistance” has

Defendant’s Initials DE 7
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 8 of 50 PagelD 266

been provided or what type of motion related thereto will be filed, if any, rests
solely with the United States Attorney for the Middle District of Florida, and
the defendant agrees that defendant cannot and will not challenge that
determination, whether by appeal, collateral attack, or otherwise.

9. Use of Information - Section |B1.8

Pursuant to USSG §1B1.8(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendant's cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1B1.8(b).

10, Guidelines Sentence

Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the
defendant’s applicable guidelines range as determined by the Court pursuant
to the United States Sentencing Guidelines, as adjusted by any departure the
United States has agreed to recommend in this plea agreement. The parties
understand that such a recommendation is not binding on the Court and that,
if it is not accepted by this Court, neither the United States nor the defendant
will be allowed to withdraw from the plea agreement, and the defendant will

not be allowed to withdraw from the plea of guilty.

Defendant’s Initials \ E } 8
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 9 of 50 PagelD 267

ll. Cooperation - Responsibilities of Parties

a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant's cooperation and any
other mitigating circumstances indicative of the defendant's rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,
the defendant understands that the government can make no representation

that the Court will impose a lesser sentence solely on account of, or in

consideration of, such cooperation.

b. It is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and
unreservedly disclose and provide full, complete, truthful, and honest
knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this

agreement, or for obstruction of justice.

Defendant’s Initials \ : 9
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 10 of 50 PagelD 268

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement. With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges
now pending in the instant case, and being further aware of defendant's rights,
as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the

defendant further agrees to waive the statute of limitations and any speedy

trial claims on such charges.

Defendant's Initials Ve. _ 10
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 11 of 50 PageID 269

(3) The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The government may use against the defendant the
defendant's own admissions and statements and the information and books,
papers, documents, and objects that the defendant has furnished in the course
of the defendant's cooperation with the government.

(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the
United States, the United States may move the Court to declare this entire
plea agreement null and void.

12. Taxes - Payment and Cooperation
The defendant agrees to pay all taxes, interest, and penalties

found to be lawfully owed and due to the Internal Revenue Service for the

years 2020 through and including 2022, and to cooperate with and provide to

Defendant’s Initials x 11
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 12 of 50 PagelD 270

the Internal Revenue Service any documentation necessary for a correct

computation of all taxes due and owing for those years, and further agrees that
the Court may make this term a condition of any sentence of probation or

Ge ee WG

3. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 21 U.S.C. § 853, whether in the possession or control of
the United States, the defendant or defendant's nominees.

The assets to be forfeited specifically include, but are not limited
to, the following: the $421,218.61 in proceeds the defendant admits he
obtained as the result of his participation in the commission of the drug
conspiracy to which the defendant is pleading guilty, as well as:

1.) approximately $195,036 in U.S. Currency seized from the
defendant’s residence on March 10, 2023:

2.) $26,740.00 from Vystar Credit Union account number
7900518201 held in the name of Darrell Hickox and/or
Laura M. Hickox;

5.) $6,493.56 from Vystar Credit Union account number
7200060498 held in the name of Darrell Hickox and/or
Laura M. Hickox;

4.) $8,934.57 from Vystar Credit Union account number

7200060509 held in the name of Stella Grace Hickox
and/or Darrell Hickox;

Defendant’s Initials MK i 12
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 13 of 50 PagelD 271

5.) $2,346.12 from Wells Fargo Bank account number
1010028352606 held in the name of James D. Hickox; and

6.) $1,225.79 from Wells Fargo Bank account number
3000066304637 held in the name of James D. Hickox,

which the defendant admits were proceeds the defendant obtained from his
participation in the charged drug conspiracy.' The net proceeds from the
forfeiture and sale of any specific assets will be credited to and reduce the
amount the United States shall be entitled to forfeit as substitute assets
pursuant to 21 U.S.C. § 853(p).

The defendant further agrees to the administrative forfeiture of the
following firearms seized from his residence on March 10, 2023: one Smith &
Wesson handgun, one Masterpiece Arms handgun, two Springfield Armory
handguns, and JMAC Custom rifle. The JMAC Custom rifle was involved in
the offense charged in Count Five of the Superseding Indictment, while the
remaining firearms were involved in the offense charged in Count Four of the
Indictment. The defendant agrees that this provision provides him with actual
notice of the administrative forfeiture of these assets, and waives the right to

receive notice of any subsequent administrative forfeiture of these assets.

: The defendant further admits that neither his spouse or children are bona
fide purchasers for value of the above-referenced funds because they did not
provide fair market value for any legal interest they may have in the above-
referenced funds.

Defendant’s Initials ‘\ { Z 13
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 14 of 50 PagelD 272

The defendant acknowledges and agrees that: 1) the defendant
obtained $421,218.61 as a result of his participation in the commission of the
drug conspiracy and 2) as a result of the acts and omissions of the defendant,
the proceeds not recovered by the United States through the forfeiture of the
directly traceable assets listed herein have been transferred to third parties and
cannot be located by the United States upon the exercise of due diligence.
Therefore, the defendant agrees that, pursuant to 21 U.S.C. § 853(p), the
United States is entitled to forfeit any other property of the defendant
(substitute assets), up to the amount of proceeds the defendant obtained, as the
result of the offenses of conviction and, further, the defendant consents to, and
agrees not to oppose, any motion for substitute assets filed by the United
States up to the amount of proceeds obtained from commission of the offenses
and consents to the entry of the forfeiture order into the Treasury Offset
Program.

The defendant additionally agrees that since the criminal
proceeds have been transferred to third parties and cannot be located by the
United States upon the exercise of due diligence, the preliminary and final
orders of forfeiture should authorize the United States Attorney's Office to
conduct discovery (including depositions, interrogatories, requests for

production of documents, and the issuance of subpoenas), pursuant to Rule

Defendant’s Initials \ A. 14
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 15 of 50 PagelD 273

32.2(b)(3) of the Federal Rules of Criminal Procedure, to help identify, locate,
and forfeit substitute assets.

The defendant agrees that forfeiture of substitute assets as
authorized herein shall not be deemed an alteration of the defendant's
sentence and the United States shall not be limited to the forfeiture of the
substitute assets, if any, specifically listed in this plea agreement.

The defendant agrees and consents to the forfeiture of these
assets pursuant to any federal criminal, civil, judicial or administrative
forfeiture action. The defendant also agrees to waive all constitutional,
statutory and procedural challenges (including direct appeal, habeas corpus, or
any other means) to any forfeiture carried out in accordance with this Plea
Agreement on any grounds, including that the forfeiture described herein
constitutes an excessive fine, was not properly noticed in the charging
instrument, addressed by the Court at the time of the guilty plea, announced at
sentencing, or incorporated into the judgment.

The defendant admits and agrees that the conduct described in
the Factual Basis below provides a sufficient factual and statutory basis for the
forfeiture of the property sought by the government. Pursuant to Rule
32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will

satisfy the notice requirement and will be final as to the defendant at the time

Defendant’s Initials Th 15
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 16 of 50 PagelD 274

it is entered. In the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture (including substitute assets) and to
transfer custody of such property to the United States before the defendant’s
sentencing. To that end, the defendant agrees to make a full and complete
disclosure of all assets over which defendant exercises control, including all
assets held by nominees, to execute any documents requested by the United
States to obtain from any other parties by lawful means any records of assets
owned by the defendant, and to consent to the release of the defendant’s tax
returns for the previous five years. The defendant agrees to be interviewed by
the government, prior to and after sentencing, regarding such assets and their
connection to criminal conduct. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United
States. The defendant agrees that Federal Rule of Criminal Procedure |1 and
USSG § 1B1.8 will not protect from forfeiture assets disclosed by the
defendant as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the

government in obtaining clear title to the forfeitable assets before the

Defendant’s Initials ‘x tL 16
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 17 of 50 PagelD 275

defendant’s sentencing. In addition to providing fuil and complete
information about forfeitable assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing

of any other documents necessary to effectuate such transfers.

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement.

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon the defendant in addition to forfeiture.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding

the abatement of any underlying criminal conviction after the execution of this

agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that

determination shall be binding upon defendant’s heirs, successors and assigns

until the agreed forfeiture, including the forfeiture of any substitute assets, is

final.

Defendant's Initials » . _ 17
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 18 of 50 PagelD 276

ge

14. Abandonment of Property

Defendant acknowledges that he has an ownership interest in the
firearms listed in “Attachment A,” as well as: one Smith & Wesson handgun,
one Masterpiece Arms handgun, two Springfield Armory handguns, and one
JMAC Custom rifle, which were all seized from the defendant’s residence on
or about March 10, 2023.

Defendant understands that he has the right and opportunity to
claim the listed property. Defendant hereby knowingly and voluntarily waives
all right, title, and interest in the listed property. Defendant waives, releases,
and withdraws any claim that Defendant has made with respect to the listed
property, and waives and releases any claim that Defendant might otherwise
have made to the listed property in the future.

Defendant consents to the vesting of title to the listed property to
the United States Government, pursuant to Title 41, Code of Federal
Regulations, Section 128-48.102-1. Defendant also consents to the destruction
of the property, or other disposition of the property in accordance with law,

and without further notice to defendant.

Defendant waives any right Defendant might otherwise have had
to receive notice or a hearing with respect to any motion, pleading, order, or

any other action that the Government might take, in its sole discretion, to

Defendant’s Initials \ He 18
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 19 of 50 PagelD 277

carry out the abandonment, disposition, and/or destruction of the listed
property. Defendant’s waiver includes, without limitation, all common law,
statutory, and constitutional claims or challenges, on any grounds, arising at
any time from, or relating to, the seizure, abandonment, disposition, and
destruction of the listed property, including any such claim for attorney’s fees
and litigation costs.

Defendant further agrees to hold the United States of America,
its agents and employees, harmless from any claims whatsoever in connection
with the seizure, abandonment, disposition, and destruction of the listed
property.

B. Standard Terms and Conditions

l. Restitution, Special Assessment and Fine
The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the

defendant enters a plea of guilty to such counts, and whether or not such

counts are dismissed pursuant to this agreement. The defendant further

Defendant's Initials l f 19
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 20 of 50 PagelD 278

understands that compliance with any restitution payment plan imposed by
the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the
Mandatory Victims Restitution Act, in order to ensure that the defendant's
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. To ensure
that this obligation is satisfied, the Defendant agrees to deliver a cashier’s
check, certified check, or money order to the Clerk of the Court in the amount
of $300, payable to "Clerk, U.S. District Court" within ten days of the change
of plea hearing. The defendant understands that this agreement imposes no
limitation as to fine.

2. Supervised Release

The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.

3. Immigration Consequences of Pleading Guilty

Defendant's [Initials Te oy 20
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 21 of 50 PagelD 279

The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the
United States in the future.

4, Sentencing Information

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,
if any, not limited to the count(s) to which defendant pleads, to respond to
comments made by the defendant or defendant's counsel, and to correct any
misstatements or inaccuracies. The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of

this case, subject to any limitations set forth herein, if any.

5. Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.

32(d)(2)(A)(Gii), the defendant agrees to complete and submit to the United

States Attorney's Office within 30 days of execution of this agreement an

affidavit reflecting the defendant's financial condition. The defendant

promises that his financial statement and disclosures will be complete,

Defendant's Initials \ { 21
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 22 of 50 PagelD 280

accurate and truthful and will include all assets in which he has any interest or
over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant's federal, state,
and local tax returns, bank records and any other financial information
concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to

nor bound by this agreement. The Court may accept or reject the agreement,

or defer a decision until it has had an opportunity to consider the presentence

Defendant’s Initials 1 ! 22
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 23 of 50 PageID 281

report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to
make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendant's plea pursuant to this plea agreement. The government expressly
reserves the right to support and defend any decision that the Court may make
with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.

d Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground

that the sentence exceeds the defendant's applicable guidelines range as

Defendant’s Initials vy / 23
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 24 of 50 PagelD 282

determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as

authorized by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the
Office of the United States Attorney for the Middle District of Florida and
cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested.

9, Filing of Agreement

This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

10. Voluntariness
The defendant acknowledges that defendant is entering into this

agreement and is pleading guilty freely and voluntarily without reliance upon

Defendant’s Initials i 24
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 25 of 50 PagelD 283

any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the
right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used

against defendant in a prosecution for perjury or false statement. The

Defendant’s Initials Wh 25
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 26 of 50 PagelD 284

defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth in the attached "Factual Basis," which is incorporated herein by
reference, are true, and were this case to go to trial, the United States would be
able to prove those specific facts and others beyond a reasonable doubt.
12. Entire Agreement
This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, Or representations exist or have been
made to the defendant or defendant's attorney with regard to such guilty plea.
13. Certification
The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant

and that defendant fully understands its terms.

ad
DATED this 22 day of April, 2024.

Defendant’s Initials 26
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 27 of 50 PagelD 285

ROGER B. HANDBERG
United States Attorney

thle Me
Gdmes Darrell Hickox

William S. Hamilton

Defendant Assistant United States Attorney
Daniel A. Smith Robert E. Bodnar, Jr.
Attorney for Defendant Assistant United States Attorney

Chief, Ocala Division

Defendant’s Initials XL 27
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 28 of 50 PagelD 286

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 3:23-cr-47-WWB-LLL
JAMES DARRELL HICKOX

PERSONALIZATION OF ELEMENTS

COUNT THREE

First: Do you admit that, beginning no later than January 1,
2021 and continuing through on or about March 10, 2023,
and within the Middle District of Florida, that you and at
least one other person (including co-defendant Joshua
Grady Earrey) in some way agreed to try to accomplish a
shared and unlawful plan to defraud the United States of
its right to the conscientious, loyal, faithful, and unbiased
services and performance of their official duties?

Second: Do you admit that you knew the unlawful purpose of the

plan and willfully joined in it?

Defendant’s Initials \ J 28
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 29 of 50 PagelD 287

Third: Do you admit that, during the conspiracy, you knowingly
engaged in at least one overt act described in the
indictment?

Fourth: Do you admit that you committed the overt act

knowingly, at or about the time alleged in the indictment,
and with the purpose of carrying out or accomplishing an

object of the conspiracy?

COUNT EIGHT

Do you admit that a substantial income tax was due and

a
5
w
ot

owing in addition to that declared on your calendar year
2020 income tax return?

Second: Do you admit that you intended to evade or defeat the
assessment and payment of this tax?

Third: Do you admit that you willfully committed an affirmative
act in furtherance of this intent, namely, by intentionally
omitting the additional income from your 2020 income tax

return?

Defendant's Initials Te 29
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 30 of 50 PagelD 288

Second:

Third:

Do you admit that, beginning no later than January 1,
2021, and continuing through on or about March 10, 2023,
in the Middle District of Florida, that you and at least one
other person (including co-defendant Joshua Grady
Earrey) in some way agreed to try to accomplish a shared
and unlawful plan to possess with intent to distribute 500
grams or more of a mixture and substance containing a
detectable amount of cocaine, 40 grams or more of a
mixture and substance containing a detectable amount of
fentanyl, 100 kilograms or more of marijuana, and
MDMA?

Do you admit that you knew the unlawful purpose of the
plan and willfully joined in it?

Do you admit that you intended to distribute the

controlled substances described above?

Defendant’s Initials fe 30
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 31 of 50 PagelD 289

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

V. CASE NO. 3:23-cr-47-WWB-LLL
JAMES DARRELL HICKOX
FACTUAL BASIS

While committing the criminal activity outlined in this factual basis
below, the defendant, James Darrell Hickox, was employed as a Detective or
Sergeant with the Nassau County Sheriff's Office (NCSO) and was also
deputized as a Drug Enforcement Administration (DEA) Task Force Officer
(TFO). NCSO is located in Yulee, Florida, within the Middle District of
Florida. Asa DEA TFO, Hickox was a federal law enforcement officer
assigned to the Jacksonville District Office of the Miami Field Division which
is located in Jacksonville, Florida, within the Middle District of Florida. In
the course of his duties in both positions, the defendant performed narcotics
investigations and was routinely involved in interviews, traffic stops, arrests,
search warrants and other activity which resulted in the seizure of currency,
firearms, and controlled substances such as cocaine, heroin, fentanyl, and

marijuana.

Defendant’s Initials % \ 31
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 32 of 50 PagelD 290

DIVERSION AND THEFT OF SEIZED CURREN cy

On an unknown date (but no later than April of 2017), the defendant
began stealing U.S. currency from currency seized as part of DEA
investigations. The defendant stole and diverted currency from evidence bags
before they were sealed during seizures or stole and diverted currency from
sealed evidence bags following seizures. The defendant broke into the
evidence bags, removed portions of the currency, and re-sealed the evidence
bags or repackaged the remaining seized currency into substitute evidence
bags which had previously been prepared for this purpose.

In addition to his personal conduct, at times, the defendant also
conspired with another law enforcement officer and fellow DEA TFO, co-
defendant Joshua Grady Earrey, to commit this activity. On or about May 31,
2022, the defendant and co-defendant participated in a joint operation by
DEA and the Florida Highway Patrol (FHP) where DEA seized in excess of
$75,000 in cash in Duval County, Florida. Per normal procedures, the
defendant placed the seized currency in an evidence bag and sealed the bag on

the premises, but the defendant had a second evidence bag pre-prepared and
listed the serial number from the second evidence bag on the official seizure

receipt and reports. Following the law enforcement operation and before

submitting the seized currency into DEA evidence storage, the defendant and

Defendant’s Initials Th 32
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 33 of 50 PagelD 291

co-defendant cut open the evidence bag containing the seized currency, stole
approximately $15,000 from inside, repackaged the remaining currency in the
pre-prepared second evidence bag, and submitted it to DEA evidence storage.
The co-defendant then knowingly and falsely under-reported the amount of
currency seized on a DEA-6 law enforcement report that he authored
documenting the seizure.

On or about November 3, 2022, the co-defendant participated in the
execution of a search warrant at the residence of an individual named B.D.
where approximately $35,000 in cash was seized. Per proper procedures, the
seized currency was placed in a sealed evidence bag, signed by the two federal
agents participating in the search, and placed in DEA evidence storage to
await transport for an official money count at a private cash-handling and
transit company located in Jacksonville, Florida. On or about November 9,
2022, the co-defendant checked out the seized currency for an official money
count. Prior to arriving at the cash-handling facility for the official money
count, the defendant met with the co-defendant and cut open the evidence bag
containing currency. The defendants stole approximately $4,000 from the
evidence bag. The defendant attempted to reseal the original evidence bag
with a heat sealer. The co-defendant ultimately repackaged the currency ina

second evidence bag and forged the signatures of the two federal agents who

Defendant’s Initials th 35
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 34 of 50 PagelD 292

had signed the original evidence bag. The co-defendant submitted the second
evidence bag for the official money count and then knowingly and falsely
under-reported the amount of currency seized on a DEA-6 law enforcement
report that he authored documenting the seizure.

DIVERSION AND THEFT OF SEIZED DRUGS

On an unknown date (but no later than April 2017) the defendant first
stole drugs from evidence seized as part of a DEA investigation. The purpose
of the defendant stealing the drugs was to use other individuals to sell the
stolen drugs and to profit from the sale proceeds of the drugs.

The defendant stole and diverted drugs including marijuana, cocaine,
heroin, fentanyl, and other controlled substances, which had been seized as
part of official law enforcement operations. The defendant targeted seized
drug evidence from investigations which were not going to be prosecuted and
therefore the drug evidence was designated for destruction.

DIVERSION OF SEIZED MARIJUAN

The defendant targeted marijuana for diversion since it was a target of

opportunity because once it was seized, it was not usually sent to the DEA lab

like other drugs. Rather, the marijuana was stored at local law enforcement
property and evidence facilities including NCSO Property and Evidence

pending prosecution or destruction.

Defendant’s Initials v4 / 34
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 35 of 50 PageID 293

The defendant and co-defendant participated in the following law
enforcement seizures of marijuana which were later diverted and sold for their

own financial benefit:

On or around November 9, 2021, DEA, including the defendant and
co-defendant in their roles as DEA TFOs, performed a traffic stop and search
of a storage unit in Jacksonville, FL. The traffic stop and search resulted in
the discovery and seizure of approximately 256 pounds of marijuana. Ona
later unknown date, the marijuana was transported to NCSO Property and
Evidence in Yulee, Florida.

On or around May 17, 2022, FHP, along with the defendant and co-
defendant in their roles as DEA TFOs, performed a traffic stop in
Jacksonville, FL. The traffic stop resulted in the discovery and seizure of
approximately 211 pounds of marijuana. On May 17, 2022, the marijuana
was seized and transported by defendant and co-defendant to NCSO Property
and Evidence in Yulee, Florida.

On or around May 18, 2022, FHP, along with the defendant and co-
defendant in their roles as DEA TFOs, performed a traffic stop and search of a
storage unit in Jacksonville, FL. The traffic stop and search resulted in the
discovery of approximately 238 pounds of marijuana. The marijuana was

seized and initially stored at FHP Property and Evidence in Jacksonville,

Defendant’s Initials DE 35
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 36 of 50 PagelD 294

Florida on May 18, 2022. On May 23, 2022, the defendant and co-defendant
transported the marijuana to NCSO Property and Evidence in Yulee, Florida.

On or around May 19, 2022, FHP, along with the defendant and co-
defendant in their roles as DEA TFOs, performed a search of a freight package
in Jacksonville, Florida. The search resulted in the discovery of
approximately 332 pounds of marijuana. The marijuana was seized and
initially stored at FHP Property and Evidence in Jacksonville, Florida on May
19, 2022. On May 23, 2022, the defendant and co-defendant transported the
marijuana to NCSO Property and Evidence in Yulee, Florida.

On or around December 13, 2022, Florida Department of Agriculture
Consumer Services (FDACS) Office of Agricultural Law Enforcement
(OALE) performed a traffic stop near the OALE inspection station on I-95
southbound. The traffic stop resulted in the discovery of 100 pounds of
marijuana and other items including THC vape cartridges. OALE contacted
the defendant because he had previously been contacted by OALE and was
considered the DEA contact for OALE in Nassau County, Florida. Despite
no longer being active as a DEA TFO, the defendant responded to the scene
of the traffic stop and also notified a current DEA TFO. The defendant

notified NCSO that he was assisting with the stop and stated DEA was taking

Defendant’s Initials Ly Z 36
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 37 of 50 PagelD 295

the case. The marijuana was seized and stored at NCSO Property and
Evidence in Yulee, Florida.

Additionally, the defendant falsely represented to the DEA or NCSO
that the items had been destroyed by preparing and submitting forged

certificates of destruction to the agencies.

Under false pretenses that the evidence was being removed to be
transported for destruction, the defendant checked out approximately 1,006
pounds of marijuana related to the seizures described above from NCSO

Property and Evidence.

In other instances when actual destructions were occurring, the
defendant would remove and divert marijuana prior to transporting the drug
evidence to the destruction facility. After the marijuana was checked out of
evidence, the defendant would divert the marijuana by placing it in his
department issued vehicle, his private vehicle, or a van he rented for the
purpose of transporting the marijuana. The defendant then provided the
marijuana to other individuals in the Jacksonville, Florida area to sell so he

could profit from the proceeds. The defendant also provided some of the

marijuana to the co-defendant for the co-defendant to sell and profit from the

proceeds,

Defendant’s Initials _ ig / 37
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 38 of 50 PagelD 296

In the instances when no actual destruction occurred, the defendant
would create false certification of destruction documents purportedly from the
private industrial waste facility regularly used by NCSO for evidence
destruction. The false documents were created in order to cover up the theft of
the marijuana. On these false documents, the defendant forged the signatures
of personnel at the private industrial waste facility. The defendant would also
attach a false evidence destruction manifest listing the specific drugs destroyed
used for evidence destruction as well as the signature of the co-defendant. The
defendant provided the false documents to NCSO Property and Evidence
personnel as evidence of the destruction.

DIVERSION OF SEIZED COCAINE

On August 16, 2022, the co-defendant participated ina DEA
investigation which resulted in the seizure of a kilo of cocaine. The co-
defendant authored the DEA Form 6 and reported the cocaine weighed 1,170
grams with evidence packaging and it was checked into DEA evidence.

After the seizure, the defendant contacted the co-defendant and
informed him of a way to swap the kilograms of cocaine for a fake kilo of
cocaine. Under the pretense the fake kilograms would be used for law
enforcement purposes, the defendant paid a private 3D printing and

fabricating business located in Jacksonville, Florida to make approximately 30

Defendant's Initials ip / 38
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 39 of 50 PagelD 297

replica bricks since 2018 that looked and weighed like real kilograms of
cocaine. The outside of the bricks were sprayed with glue and sprinkled with
real cocaine to make them appear legitimate. The defendant gave the co-
defendant one of these fake kilograms of cocaine for the purpose of swapping
it with the real kilogram.

On August 17, 2022, the co-defendant checked out the kilogram of
cocaine from DEA for shipment to the DEA lab for destruction. The
defendant and co-defendant exchanged text messages regarding the weight of
the fake kilogram of cocaine and discussed meeting. The defendant informed
the co-defendant the weight of the fake kilogram for the co-defendant to mark
it on a new evidence bag. Prior to shipping the kilogram to the DEA lab, the
co-defendant met with the defendant and swapped the real kilogram with the
fake kilogram. The co-defendant labeled the new evidence bag and paperwork
with the weight of the fake kilogram and indicated to the DEA lab that no
testing was needed. Ultimately, the kilogram was designated for destruction.

The defendant then gave the real kilogram of cocaine to a known drug
dealer to sell for him. The cocaine was sold for approximately $20,000 to
$23,000. The defendant kept approximately $8,000 to $12,000 and the co-

defendant kept approximately $6,000 to $15,000.

Defendant’s Initials Xg Fix. 39
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 40 of 50 PagelD 298

DRUG TRAFFICKING AND DISTRIBUTION

The defendant used individuals who were initially law enforcement
sources or known subjects to traffic and distribute drugs he illegally obtained.

The defendant used a confidential informant (CI-1) in the same manner,
CI-1 was originally a target of a DEA investigation but was not charged due to
insufficient evidence. The defendant developed a friendship with CI-1 and
often used his personal money for CI-1’s rent and expenses. The defendant
signed up CI-1 as an NCSO source. CI-1 participated in a limited number of
official source operations involving drug activity. However, the defendant
eventually began providing CI-] with fentanyl, heroin, cocaine, and marijuana
to sell on his behalf, which the defendant had diverted and stolen from law
enforcement seizures.

The defendant lied to CI-1 to make the individual believe he/she was
providing legitimate law enforcement assistance as a source. CI-| believed
he/she was assisting the defendant in development of new cases.

The defendant gave between | and 20 pounds of marijuana to CI-I on
50 to 75 separate occasions. C]-1 sold the marijuana for $1,000 per pound,
gave $600 to $700 per pound to the defendant, and was allowed to keep the

remainder. The defendant told CIJ-1 the money was his/her source payment.

Defendant's Initials a _ AQ
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 41 of 50 PageID 299

The defendant gave heroin and fentanyl to CI-1 on 20 to 30 occasions.
CI-1 sold the heroin and fentanyl on behalf of the defendant, believing he/she
Was participating in legitimate law enforcement activities as a source. The
defendant made approximately $40,000 from the sales of heroin and fentany!
in this manner. The defendant also gave cocaine to CI-1 to sell approximately
10 times.

In 2021, the defendant began selling marijuana and cocaine, which the
defendant diverted and stole from law enforcement seizures, to a known DEA
subject (Subject-1). The defendant gave marijuana to Subject-1 on 15 to 20
occasions for a total of 500 to 600 pounds of marijuana. The defendant
received between $200 to $400 per pound of marijuana.

The defendant gave cocaine to Subject-1 on 2 to 3 occasions and
received $800 to $1,000 per ounce of cocaine.

ATTEMPTED SEIZURE AND DIVERSION OF FENTANYL

In mid to late 2022, the defendant learned from Subject-1 of six
kilograms of fentanyl that had arrived from another state. Subject-1 and the
defendant devised a plan to stage a Florida Highway Patrol traffic stop in
order for the associate to portray to the source of the drugs that the kilograms
were seized by law enforcement and therefore Subject-1 would not be able to

sell the drugs. The defendant and co-defendant staged a fake traffic stop and

Defendant’s Initials p , 4]
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 42 of 50 PagelD 300

took photographs to indicate it was a legitimate traffic stop. The defendant
and co-defendant solicited the assistance of an unwitting law enforcement
officer as well. The defendant, co-defendant, and Subject-| intended to sell the
fentanyl and keep the proceeds for their personal benefit. However, when the
kilograms were tested, they were revealed to be made of benzocaine rather

than fentanyl.

POSSESSION OF NARCOTICS

On March 10, 2023, the defendant’s residence in Callahan, Florida was
searched pursuant to a federal search warrant. His office at the Nassau
County Sheriff's Office was searched simultaneously. The search of the
defendant’s residence yielded approximately 263 grams of a powdery
substance containing a detectable amount of fentanyl. In addition, the
powdery substances also contained detectable amounts of Xylazine and
Ketamine. Agents also recovered approximately 16 grams of cocaine and a
small amount of alpha-PVP (alpha-pyrrolidinopentiophenone), also known as
Flakka. These narcotics were located in a converted garage room on the

defendant’s property which was labeled “Gator’s Man Cave” which the

defendant regularly inhabited and used. All of these narcotics were intended
for distribution. The search of the defendant’s office also yielded

approximately 260 grams of pills which were initially believed to contain

Defendant’s Initials I Z 42
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 43 of 50 PagelD 301

MDMA, but which laboratory testing confirmed instead contained a
detectable amount of methamphetamine. At the time he possessed the
substances described above, the defendant was aware that they were illicit

narcotics.

POSSESSION OF MACHINEGUN

During the search of the defendant’s residence in Callahan, Florida, on
March 10, 2023, a JMAC Customs M4 rifle was located in a gun safe. Due to
the presence of narcotics seized at the defendant’s residence and the markings
on the rifle indicating it was capable of fully automatic firing, the rifle was
seized.

On May 18, 2023, ATF tested the JMAC Customs M4 rifle and
determined that the gun was capable of fully automatic fire and is a
“machinegun” as defined in 26 U.S.C. § 5845(b). Additionally, the JMAC
Customs M4 rifle bore no NFA manufacturer’s marks of identification or
serial number as required by 26 U.S.C. § 5842,

The JMAC Customs M4 rifle was constructed by an acquaintance of
the defendant at the defendant’s direction and using parts the defendant
acquired. At the time of having the JMAC Customs M4 rifle constructed, the
defendant was aware it was illegal to possess an automatic weapon or

machinegun. At the time the defendant possessed the rifle, he was aware that

Defendant’s Initials YY 43
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 44 of 50 PagelD 302

it was a machinegun. The rifle has never been registered to the defendant in
the National Firearms Registration and Transfer Record, as required under
federal law.

POSSESSION OF STOLEN AND UNSERIALIZED FIREARMS

During the search of the defendant's residence in Callahan, Florida, on
March 10, 2023, pursuant to a federal search warrant, three firearms were
located (Smith & Wesson revolver, Masterpiece Arms handgun, and a
Springfield Armory handgun) which were later identified as being previously
seized during a DEA investigation on April 17, 2018. On April 17, 2018, the
defendant authored a DEA Form 6 report related to the seized weapons,
which stated the weapons were transported to Baker County Sheriff's Office
(BCSO) by two other law enforcement officers.

On January 17, 2019, the defendant authored a DEA Form 6 report
stating that the firearms were removed from BCSO on December 12, 2018,
and custody was relinquished to the defendant. The defendant further stated
he transported and submitted the weapons to the NCSO Property and
Evidence room under a specific NCSO Agency Reporting Number. The
defendant further reported he, and others, then transported the firearms to a

contracted private facility, located in Okahumpka, FL, for a scheduled

destruction appointment.

Defendant’s Initials yy i 44
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 45 of 50 PagelD 303

On May 5, 2023, NCSO Evidence personnel searched the NCSO
evidence system for the three firearms. The resulting search showed three
different firearms being submitted under the specific NCSO Agency Reporting
Number. A search of the serial numbers for the firearms found at Hickox’s
residence was negative. Based on this information, these firearms were never
entered into NCSO evidence system by the defendant.

One of the firearms, the Smith & Wesson revolver, had obliterated
serial numbers. Specifically, the serial numbers on both the bottom of the grip
and the bottom of the barrel were drilled out and obliterated. The revolver was
one of several firearms seized during the April 17, 2018, DEA search warrant,
which the defendant had marked as destroyed and then diverted to his own
possession. On an unknown date after the firearm was in ihe defendant's
possession, the defendant drilled out and obliterated the serial numbers on the
firearm.

During the search executed at the defendant’s residence on March 10,
2023, a fourth firearm was located (also a Springfield Armory handgun),
which was later identified as being previously seized during a DEA
investigation on July 9, 2015. On July 10, 2015, the defendant authored a
DEA Form 6 report stating the firearm was transported to DEA JDO on July

9, 2015, for temporary storage. The defendant further reported he transported

Defendant's Initials te 45
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 46 of 50 PagelD 304

the firearm to NCSO and placed the firearm in the NCSO Property and
Evidence room on July 10, 2015.

On May 5, 2023, NCSO Property and Evidence records indicated the
firearm was still in NCSO evidence. A search by NCSO determined the
weapon was not located in evidence and there was no paperwork to document

its disposal/removal.

TAX EVASION

During his time as a DEA TFO and after returning to NCSO asa
Sergeant, the defendant used his position to obtain access to cocaine, heroin,
fentanyl, marijuana and other controlled substances which had been seized as
evidence in law enforcement operations. The defendant provided the drugs to
other individuals to sell on his behalf. The defendant collected cash proceeds
from the sale of the controlled substances by these other individuals. The
defendant also collected cash from his theft of seized currency.

On or about March 10, 2023, the defendant was in possession of
approximately $195,036 at his residence. The cash was proceeds of the
defendant’s illicit activities. The defendant utilized the drug and theft
proceeds to make significant cash payments on credit cards and also used cash
to pay for personal expenditures including vehicles, home improvements, gifts,

and other items. The defendant further deposited money obtained from his

Defendant's Initials Of . 46
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 47 of 50 PagelD 305

participation in the drug conspiracy into bank accounts, including the
accounts held at Vystar Credit Union and Wells Fargo Bank mentioned above
in the Forfeiture Section. The amounts listed above in the Forfeiture Section
represent the amount of drug proceeds still remaining in the accounts at the
time the accounts were frozen by the referenced financial institutions.

The defendant knowingly failed to report as income the amounts he
collected as cash proceeds from the thefts and the sales of the controlled
substances including cocaine, heroin, fentanyl, marijuana, and other
controlled substances. During 2020, 2021, and 2022, the defendant made cash
deposits to bank accounts, cash payments to credit cards, and cash payments
for goods and services of at least $127,859.61, $113,770.00, and $179,589.00,
respectively. The cash payments were made using proceeds of the defendant's
illicit activities.

The defendant and his spouse filed joint tax returns for tax years 2020,
2021, and 2022. The defendant was responsible for the preparation and filing
of the joint tax returns. The defendant’s 2020, 2021, and 2022 tax returns,
prepared by tax preparers, based on information and documentation provided
by the defendant, did not report at least $121,020.97, $113,701.11, and
$178,968.20, respectively, which should have been reported as income for

those years. The total unreported cash income totaled at least approximately

Defendant's Initials Ig 47
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 48 of 50 PagelD 306

$421,218.61. The unreported cash income resulted in a criminal tax loss of at
least $28,339, $28,168, and $41,546 in 2020, 2021, and 2022, respectively. The

total criminal tax loss is at least $98,053.

Defendant’s Initials ¥ 48
Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page 49 of,50 PagelD 3

‘ach meat
(yy Page 1/2

OV Ly

/

Item #

Corrected Description

Smith & Wesson unknown model .32 caliber revolver, serial number illegible but believed to be
1B31 |136365

Glock GMBH model 19Gen5 9mm caliber pistol, serial number BUBY675, manufactured in Austria
1B37 and imported by Glock, Inc., Smyrna, GA

Taurus model Public Defender Judge poly .45LC/.410GA caliber revolver, serial number KY351078,
1B40 manufactured in Brazil and imported by Taurus International Manufacturing Inc., Miami, FL
1841 Smith & Wesson model 637 Airweight .38 caliber revolver, serial number CJA5143
1B42 Item 39: DEA Evidence bag with ammo

Item 40: 5 Rounds of .32 Caliber ammunition (smith and wesson) in zip lock bag that contained
1B43 Smith and Wesson .32 caliber revolver and 5 rounds of .32 caliber smith and wesson ammuntion
1B44 Colt model Trooper MKIII .357 caliber revolver, serial number L19741, stainless steel
1B45 Taurus International model Curve .380 caliber pistol, serial number 49759E (manufactured in US)
1B46 Masterpiece Arms model MPA30 9mm caliber pistol, serial number F12725

HS Produkt model XDM .40 caliber pistol, serial number MG104691, manufactured in Croatia and
1B47 imported by Springfield Armory Inc., Geneseo, IL

Glock GBMH model 30Gen4 .45 caliber pistol, serial number XDL223, manufactured in Austria and
1B48 imported by Glock Inc., Smyrna, GA
1B49 Ideal Conceal, Inc., model IC9MM 9mm caliber pistol, serial number X500095
1B50 Bond Arms, Inc., model Rough N Rowdy .45/.410 caliber derringer, serial number 275774
1B51 Magnum Research, Inc., model Micro Desert Eagle .380 caliber pistol, serial number ME12543
1B52 Silencerco, LLC, model Maxim 9 9mm caliber pistol, serial number MX9-1607

Taurus model Public Defender Judge .45LC/.410GA caliber revolver, serial number E0382968,
1B53 manufactured in Brazil and imported by Taurus International Manufacturing, Inc., Miami, FL

Glock GMBH model 27Gen4 .40 caliber pistol, serial number XDH955, manufactured in Austria and
1B54 imported by Glock, Inc., Smyrna, GA
1B55 Colt model Frontier Scout .22 caliber revolver, serial number 98382F, single action

Israel Weapon Industries model Tavor Sar 7.62NATO caliber rifle, serial number T7600483,
1B56 manufactured in Israel and imported by IWI US, Inc., Middletown, PA
1B57 Ruger model AR-556 556-caliber pistol, serial number 859-13601

Manufacture Design Innovation, Inc., model M4 multi-caliber pistol with Palmetto State Armory rifle
1B58 barrel, serial JMACX822
1B59 PTR Industries, Inc., model PTR 91 .308 caliber pistol, serial number DKO3846

Glock GMBH model 22 .40 caliber pistol, serial number HUL637, in micro conversion kit,
1B60 manufactured in Austria and imported by Glock, Inc., Smyrna, GA
1B61 Mossberg model 590 12-gauge shotgun, serial number MF0016574, with pistol grip

Panzer Arms model AR Twelve Pro 12-gauge shotgun, serial number MtT-19-02933, manufactured in
1B62 Turkey and imported by PW Arms, Inc., Redmond, WA
1B63 Winchester model 94 .30-30 caliber rifle, serial number 3328667

HS Produkt model XDS .40 caliber pistol, serial number S3526589, manufactured in Croatia and
1B64 imported by Springfield Armory, Inc., Geneseo, IL

Glock GMBH model 22Gen4 .40 caliber pistol, serial number WPM606, manufactured in Austria and
1B65 imported by Glock, Inc., Smyrna, GA
1B66 Wilson Combat model Protector 5.56 caliber rifle, serial number WCA32349
1B67 Armalite model M15 5.56 caliber rifle, serial number US155942

Glock GMBH model 19Gen5 9mm caliber pistol, serial number BGNU707, manufactured in Austria
1B68 and imported by Glock, Inc., Smyrna, GA

Case 3:23-cr-00047-WWB-LLL Document 87 Filed 05/15/24 Page OF SONFAEIR APE, ey

Page 2/2 pee

Glock GMBH model 27 .40 caliber pistol, serial number DTD924US, manufactured in Austria and
1B69 imported by Glock, Inc., Smyrna, GA

1B163 Item 2: 9 rounds of 9mm ammunition

Glock GMBH model 43x 9mm caliber pistol, serial number BALT450, manufactured in Austria and
1B165 |imported by Glock, Inc., Smyrna, GA

